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ZAYN AL ABIDIN MUHAMMAD )
HUSAYN (rSN # 10016),   )
                                                )
Petitioner.                                    )
                                               )
v.                                             )     No.08-cv-1360 (EGS)
                                               )
JIM MATTIS,                                    )
                                               )
Respondent,
                                               )



       PLEASE TAKE NOTICE that today I filed a MOTION FOR LEAVE TO FILE

EMERGENCY MOTION FOR SPECIFIED RELIEF EX PARTE AND TINDER
                                                          SEAL,
together with the proposed EMERGENCY          MoTIoN FoR SPECIFIED RELIEF, by causing
paper copies to be sent by courier in a sealed and properly marked
                                                                   envelope to the Clerk   of
Court, pursuant to Local Civil Rule 5.1(h).



Dated: April 18,2018                 Respectfully submitted,

                                               lsl
                                     Charles R. Church
                                     Denbeaux & Denbeaux
                                     366 Kinderkamack Road
                                     Westwood, NJ Westwood. NJ 07675
